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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


 STEVEN M. LANDRUM,
                                                   Case No. 1:21-cv-02220
                     Plaintiff,
                                                   Judge
            v.

 CREDIT CONTROL SERVICES, INC. dba                 COMPLAINT
 CREDIT COLLECTION SERVICES                        JURY DEMAND ENDORSED HEREON

                     Defendant.


       Plaintiff, Steven M. Landrum (“Plaintiff”), for his Complaint against Credit Control

Services, Inc. dba Credit Collection Services (“Defendant”), states as follows:

                                       NATURE OF THE ACTION

       1.        Plaintiff brings this action seeking damages pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. §§ 1692 et seq (“FDCPA”), as a result of Defendant’s unlawful collections

practices as described in this Complaint, infra.

                                       JURISDICTION AND VENUE

       2.        This action arises under and is brought pursuant to the FDCPA. Subject matter

jurisdiction is therefore conferred upon this Court by 15 U.S.C § 1692k and 28 U.S.C. §§ 1331

and 1337, as the action arises under the laws of the United States.

       3.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendant transacts

business within the Northern District of Illinois and the events and/or omissions giving rise to the

claims made in this Complaint occurred within the Northern District of Illinois.
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                                               PARTIES

        4.      Plaintiff is a natural adult person residing in Aurora, Illinois, which is located within

the Northern District of Illinois.

        5.      Plaintiff is a “consumer” as that term is defined by § 1692a(3) of the FDCPA.

        6.      Defendant is a Massachusetts limited liability company in the business of collecting

consumer debts on behalf of others within the State of Illinois and throughout the United States.

        7.      Defendant regularly uses the mails and/or the telephone to collect, or attempt to

collect, delinquent consumer accounts.

        8.      In its correspondences to consumers and on its website, Defendant identifies itself

as a “debt collector.” See https://www.ccsusa.com/opCo ccs.html.

        9.      Defendant is a “debt collector” as that term is defined by § 1692a(6) of the FDCPA.

       10.      Defendant acted through its agents, employees, members, heirs, successors,

assigns, principals, trustees, sureties, subrogees, representatives and/or insurers at all times

relevant to the instant action.

                                  FACTS SUPPORTING CAUSES OF ACTION

       11.      The instant action arises out of Defendant’s attempts to collect an outstanding

consumer debt that Plaintiff allegedly owed to Edward Hospital (the “Debt”).

       12.      Since at least December 2019, Plaintiff has been receiving calls to his cellular

phone, (xxx) xxx-3287, from Defendant.

       13.      At all times relevant to the instant action, Plaintiff was the sole subscriber, owner,

and operator of the cellular phone ending in 3287. Plaintiff is and always has been financially

responsible for the cellular phone and its services.




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      14.      Upon first speaking with Defendant in or around December 2019, Plaintiff was

informed that Defendant was attempting to collect the Debt.

      15.      Since approximately December 2019, Plaintiff has repeatedly notified Defendant’s

representatives that he did not have the means to make payment, and has repeatedly requested that

Defendant stop calling him.

      16.      One of these conversations occurred on or around December 12, 2019.

      17.      In spite of this explicit information, Defendant has placed dozens of phone calls to

Plaintiff’s cellular phone through the present day.

      18.      Defendant has also placed multiple calls to Plaintiff’s cellular phone during the

course of the same day.

      19.      Upon information and belief, Defendant has used multiple phone numbers when

placing calls to Plaintiff’s cellular phone, including but not limited to: (781) 689-9000.

      20.      Upon information and belief, the above-referenced phone number is regularly

utilized by Defendant during its debt collection activities.

                                             DAMAGES

      21.      Plaintiff has been unfairly treated and harassed by Defendant’s conduct.

      22.      Plaintiff has suffered concrete harm as a result of Defendant’s conduct, including

but not limited to: stress, invasion of privacy, aggravation that accompanies collection telephone

calls, emotional distress, increased risk of personal injury resulting from the distraction caused by

the calls, increased usage of his telephone services, loss of cellular phone capacity, diminished

cellular phone functionality, decreased battery life on his cellular phone, and diminished space for

data storage on his cellular phone.




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      23.        Frustrated over Defendant’s harassing conduct, Plaintiff was forced to retain

counsel, and his damages therefore include reasonable attorneys’ fees incurred in prosecuting this

action.

      24.        As a result of Defendant’s conduct, Plaintiff is entitled to statutory damages and all

other appropriate measures to punish and deter Defendant and other debt collectors from engaging

in the unlawful collection practices described in this Complaint, supra.

                                      GROUNDS FOR RELIEF

                    VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                              15 U.S.C. §§ 1692d, d(5), e, e(10) and f

      25.        All prior paragraphs are incorporated into this count by reference.

      26.        The Debt is a “debt” as that term is defined by § 1692a(5) of the FDCPA as it arises

out of a transaction due or asserted to be owed or due to another for personal, family, or household

purposes.

      27.        The FDCPA mandates, in relevant part:

                   A debt collector may not engage in any conduct the natural
                   consequence of which is to harass, oppress, or abuse any person in
                   connection with the collection of a debt. Without limiting the general
                   application of the foregoing, the following conduct is a violation of
                   this section: (5) Causing a telephone to ring or engaging any person
                   in telephone conversation repeatedly or continuously with intent to
                   annoy, abuse, or harass any person at the called number.

15 U.S.C. §§ 1692d and d(5).

                   A debt collector may not use any false, deceptive, or misleading
                   representation or means in connection with the collection of any debt.
                   Without limiting the general application of the foregoing, the
                   following conduct is a violation of this section: (10) The use of any
                   false representation or deceptive means to collect or attempt to collect
                   any debt or to obtain information concerning a consumer.

15 U.S.C. §§ 1692e and e(10).


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                  A debt collector may not use unfair or unconscionable means to
                  collect or attempt to collect any debt.

15 U.S.C. § 1692f.

       28.      Defendant violated §§ 1692d and d(5) when it continuously called Plaintiff after

being notified that Plaintiff was insolvent and to stop calling. Yet, Defendant continued to place

repeated phone calls to Plaintiff’s cellular phone with the hopes that the sustained pressure would

cause Plaintiff to succumb to Defendant’s efforts and remit payment. This repeated behavior of

systematically calling Plaintiff’s cellular phone, in spite of his demands, was harassing and

abusive. The frequency and volume of calls shows that Defendant willfully ignored Plaintiff’s

pleas with the goal of annoying and harassing him.

       29.      Defendant was notified by Plaintiff that its calls were not welcomed and that he

was feeling harassed. As such, Defendant knew that its conduct was inconvenient and harassing

to Plaintiff.

       30.      Defendant violated §§ 1692e and e(10) when it used false and deceptive means to

collect and/or attempt to collect the Debt. Even though Plaintiff notified Defendant that he could

not make payment and to stop calling, Defendant blatantly ignored Plaintiff’s assertions regarding

his financial hardships and deceptively continued to place systematic calls to his cellular phone.

       31.      Defendant violated § 1692f when it unfairly and unconscionably attempted to

collect on the Debt by continuously calling Plaintiff numerous times after being told that he could

not pay and to stop calling. Attempting to coerce Plaintiff into payment by placing voluminous

phone calls after receiving this information is unfair and unconscionable behavior. These means

employed by Defendant only served to frustrate, worry and confuse Plaintiff.

       32.      As pled in paragraphs 21 through 24, supra, Plaintiff has been harmed and suffered

damages as a result of Defendant’s unlawful actions as outlined in this Complaint.

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                                     PRAYER FOR RELIEF

   WHEREFORE, Plaintiff, Steven M. Landrum, respectfully requests that this Court enter

judgment in his favor as follows:

          A. Awarding Plaintiff actual damages, in an amount to be determined at trial, as
             provided under 15 U.S.C. § 1692k(a)(1);

          B. Awarding Plaintiff statutory damages in the amount of $1,000.00, as provided
             under 15 U.S.C. § 1692k(a)(2)(A);

          C. Awarding Plaintiff the costs of this action and reasonable attorneys’ fees, as
             provided under 15 U.S.C. § 1692k(a)(3); and

          D. Awarding Plaintiff any other relief as this Court deems just and appropriate.


DATED this 26th day of April, 2021.                   Respectfully Submitted,

                                                        /s/ Geoff B. McCarrell
                                                      Geoff B. McCarrell #0086427
                                                      David S. Klain #0066305
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                                                      Attorneys for Plaintiff, Steven M. Landrum



                                         JURY DEMAND

    Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial to a jury on all issues of fact.

                                                       /s/ Geoff B. McCarrell
                                                      Geoff B. McCarrell #0086427
                                                      CONSUMER LAW PARTNERS, LLC




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